Case 1:16-cv-00281-JEJ Document 1-1 Filed 02/17/16 Page 1of1

3844 (Rev. 11/15) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

TRAM AL tL Noth
7 dS
(b) County of Residence of First Listed Plaintiff ARAN M A County of Residence of First Listed Defendant AKA 426 r

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONLY) Br om 6 S i eel

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF PA

THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known) ( “~ \ . 3
Il. BASIS OF JURISDICTION (Place an “Xx” in One Box Only) TI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
wr US. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Ma O 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 U.S. Government 4 Diversity Citizen of Another State 1 2  O 2 Incorporated and Principal Place os o85
Defendant (Indicate Citizenship of Parties in Item [ID of Business In Another State

Citizen or Subject of a 03 OQ 3. Foreign Nation o6 G86

Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Only)

CONTRACT. & ee TORTS yee, | PORFEITURE/PENALTY: BANKRUPTCY. |. OTHER STATUTES
CO 110 Insurance PERSONAL INJURY PERSONAL INJURY = (J 625 Drug Related Seizure O) 422 Appeal 28 USC 158 375 False Claims Act
© 120 Marine , 0 310 Airplane 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal CO) 376 Qui Tam (31 USC
1 130 Miller Act 0 315 Airplane Product Product Liability O +690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ O 400 State Reapportionment
0 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical ~ _ PROPERTY RIGHTS. “410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
© 151 Medicare Act O 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
O 152 Recovery of Defaulted Liability 368 Asbestos Personal ete Trademark 460 Deportation
Student Loans © 340 Marine Injury Product 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability . LA __ SOCIAL SECURITY Cormpt Organizations
0) 153 Recovery of Overpayment Liability PERSONAL PROPERTY j() 710 Fair Labor Standards 0 861 HIA (1395ff) © 480 Consumer Credit
of Veteran’s Benefits O 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) 490 Cable/Sat TV
1 160 Stockholders’ Suits CO) 355 Motor Vehicle © 371 Truth in Lending © 720 Labor/Management O 863 DIWC/DIWW (405(g)) 850 Securities/Commodities/
© 190 Other Contract Product Liability O 380 Other Personal Relations 0 864 SSID Title XVI Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage 1 740 Railway Labor Act ( 865 RSI (405(g)) 2 890 Other Statutory Actions
O 196 Franchise Injury 0 385 Property Damage 0 751 Family and Medical O 891 Agricultural Acts
©) 362 Personal Injury - Product Liability Leave Act O 893 Environmental Matters
Medical Malpractice O 790 Other Labor Litigation QO 895 Freedom of Information
a CIVIL RIGHTS _E.PRISONER PETITIONS -{ 0) 791 Employee Retirement _) FEDERAL TAX SUITS Act
O 210 Land Condemnation P"440 Other Civil Rights Habeas Corpus: Income Security Act 1] 870 Taxes (U.S. Plaintiff © 896 Arbitration
© 220 Foreclosure e441 Voting OG 463 Alien Detainee or Defendant) 899 Administrative Procedure
0 230 Rent Lease & Ejectment 0 442 Employment 1 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
O 240 Torts to Land D 443 Housing/ ‘ Sentence 26 USC 7609 CY, igi
13245 Tort Product Liability Accommodations & 530 General XPREER:
em All Other Real Property © 445 Amer. w/Disabilities -] J 535 Death Penalty IMMIGRATION H
Employment Other: C) 462 Naturalization Application
0 446 Amer, w/Disabilities -|G 540 Mandamus & Other |0 465 Other Immigration ARRISBURG, PA
Other D 550 Civil Rights Actions
O 448 Education O 555 Prison Condition
O 560 Civil Detainee - FEB 1 7 2016
Conditions of
Confinement MARIA E El KINS Cl ERK

V. ORIGIN (Place an “X” in One Box Only) {\
G1 Original 2 Removed from O 3  Remanded from 1) 4 Reinstated or O 5 Transferredfroom O06 Mu I erleos
Proceeding State Court Appellate Court Reopened Another District Litigation’

(specify)
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION Brief description of cause: Voting R \e, OK A c+ A bt

VIL REQUESTED IN C} CHECK IF THIS ISA CLASSACTION “DEMANDS” CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. \ JURY DEMAND: G Yes 0
VIII. RELATED CASE(S) a judge
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

